Case 2:08-cv-02641-JDT-egb Document 6 Filed 07/24/09 Page 1 of 1          PageID 18




                       United States District Court
                       WESTERN DISTRICT OF TENNESSEE
                              Eastern Division


                          JUDGMENT IN A CIVIL CASE


MIKE PARSONS,
Plaintiff,

v.                                            Civ. No.: 2: 08-2641 JDT/egb

BARRY DEAN LAXTON,
Defendants.


Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED that in accordance with the order entered in
the above-styled matter on 7/23/09, the complaint is DISMISSED pursuant to 28
U.S.C. §§ 1915(e)(2)(B)(ii), 28 U.S.C. § 1915A(b), and Fed. R. Civ. P. 12(h)(3). It
is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal in
this matter by Plaintiff would not be taken in good faith, and Plaintiff may not
proceed on appeal in forma pauperis. If Plaintiff files a notice of appeal, he must
pay the entire $455 filing fee required by 28 U.S.C. §§ 1913 and 1917. The entire
filing fee must be paid within thirty (30) days of the filing of the notice of appeal.


APPROVED:
                                              s/James D. Todd
                                              JAMES D. TODD
                                              UNITED STATES DISTRICT JUDGE


THOMAS M. GOULD
CLERK

BY: s/Cassandra Ikerd
DEPUTY CLERK
